










Opinion issued August 4, 2005











In The
Court of Appeals
For The
First District of Texas




NO. 01–05–00222–CV




LUTHER EMORD FLOYD, Appellant

V.

ALLISON DELPHINE BARNES, Appellee




On Appeal from the 312th District Court
Harris County, Texas
Trial Court Cause No. 2003-65323




MEMORANDUM OPINIONAppellant Luther Emord Floyd has neither established indigence, nor paid or
made arrangements to pay the clerk’s fee for preparing the clerk’s record.  See Tex.
R. App. P. 20.1 (listing requirements for establishing indigence), 37.3(b) (allowing
dismissal of appeal if no clerk’s record filed due to appellant’s fault).  After being
notified that this appeal was subject to dismissal, appellant Luther Emord Floyd did
not adequately respond.  See Tex. R. App. P. 42.3(c) (allowing involuntary dismissal
of case).
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;The appeal is dismissed for want of prosecution for failure to pay or make
arrangements to pay the clerk’s fee.  All pending motions are denied.
PER CURIAM
Panel consists of Justices Taft, Jennings, and Alcala.


